
Jackson, C. J.
1. The verdict that the deed relied on in this case *161was a forgery, was supported by the evidence, it appearing that the deed purported to have been executed in 1835, and was not recorded until 1883, when the subscribing witnesses wore dead, and shortly before the suit for the land was brought; anu also that the alleged-grantor could not in fact write his name, and signed interrogatories with his mark, denying the signatures of the deed, and the deed purported to be signed in writing.
W. E. Spinks; I. F.;Thompson, for plaintiff in error.
J. M. Spinks, for defendant.
2. A-certificate from the Secretary of State, not certifying to a copy of the records in his office, but to the effect that he had examined the grant from the State, and from it appearance thought it genuine, was not admissible.
(a) Were it admissible, it could hardly' affect the result of the issue on the genuiness of the deed relied on.
Judgment affirmed.
